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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
DON’T SHOOT PORTLAND, et al.              )
                                          )
                            Plaintiffs,   )
v.                                        )   Case No. 1:20-cv-2040-CRC
                                          )
CHAD F. WOLF, in his official capacity    )
as Acting Secretary of Homeland Security, )
et al.,                                   )
                                          )
                            Defendants.   )
__________________________________________)



 BRIEF OF AMICI CURIAE CURRENT AND FORMER ELECTED PROSECUTORS,
ATTORNEYS GENERAL AND LAW ENFORCEMENT LEADERS, FORMER UNITED
STATES ATTORNEYS AND DEPARTMENT OF JUSTICE OFFICIALS IN SUPPORT
             OF PLAINTIFF DON’T SHOOT PORTLAND, ET AL.
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 Trump showcases federal power in Portland, making a culture war campaign pitch,
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  Preventive Medicine (Nov. 1, 2016) ........................................................................................... 7

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    I.   INTEREST AND IDENTITY OF AMICI CURIAE

         Amici curiae, current and former elected prosecutors, Attorneys General and law

enforcement leaders, as well as former United States Attorneys and Department of Justice

Officials, file this brief in support of Plaintiffs’ request for relief and in opposition to

Defendants’ Motion to Dismiss.1 Amici are criminal justice leaders from around the nation who

have extensive expertise in law enforcement, prosecution, and cooperative federal-state law

enforcement activities. They are intimately familiar with the challenges of performing critical

law enforcement and governance functions in communities where citizens harbor a deep distrust

of the police and are vulnerable to exploitation and crime. Amici serve currently, or have served

previously, as public servants in jurisdictions that understand the challenges of protecting local

community needs and promoting public safety.

         As amici know well, community trust and cooperation are essential to public safety.

Shattered trust in law enforcement leaves the community vulnerable to harm and exploitation as

people fear coming forward to cooperate with investigations and prosecutions, leading to more

violence in the communities that amici are and have been charged with protecting.

         Amici believe that the actions of federal law enforcement in Portland, Oregon – as well as

similar deployments or threatened federal engagement in other urban areas in the country –

undermine these vital law enforcement objectives. The deeply concerning and violent actions of

federal agents against peaceful protesters have damaged already-fragile bonds of trust with law

enforcement. This type of aggressive and unwelcome federal law enforcement intervention

hinders the ability of local law enforcement and local prosecutors to keep their communities safe.


1
  No party objects to the filing of this brief. No counsel for a party authored this brief in whole or
in part, and no party or counsel for a party made a monetary contribution intended to fund the
preparation or submission of this brief. No person other than amici curiae made a monetary
contribution supporting this brief’s preparation or submission.

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It impedes elected prosecutors’ efforts to fortify trust with the communities they serve, and

deprives local law enforcement and justice system leaders of the discretion necessary to

determine how best to protect their communities. And in this particularly challenging moment,

these actions threaten to exacerbate tensions and create further flash points in places where

emotions are already running dangerously high.

        For all of these reasons, and as set forth more fully below, amici have a compelling

interest in this case and are deeply concerned that the deployment and conduct of federal law

enforcement in Portland, Oregon – as well as actual or threatened engagement in other urban

areas in the country – will undermine and erode public trust and safety. Therefore, we have come

together to bring our voices, and our collective decades of experience in the criminal justice

arena, to this vital issue.

        A full list of amici is attached as Exhibit A.

 II.    SUMMARY OF ARGUMENT

        Following the tragic death of George Floyd in Minneapolis, members of the Portland

community have taken to the streets to express their collective grief, anger, and frustration over

not just one senseless act of violence, but the countless other abuses people of color have

endured for years. These calls for change are focused on police violence and accountability, as

well as the broader need for our nation to grapple with and redress centuries of racism and

oppression that have led to mass incarceration, voter suppression, political disempowerment,

economic inequality, and educational and health disparities.

        The necessary healing process between local law enforcement and the people they serve

must occur in communities across the country, including Portland. Yet that process has been

thwarted by the recent involvement and disturbing tactics of federal law enforcement officers.




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Widespread media coverage of this federal intervention has shown agents gassing, beating, and

kidnapping peaceful protesters while wearing no badges or name tags and driving unmarked

vehicles.2 These acts are not only unconstitutional, as Plaintiffs aptly argue, but they also are

counterproductive, damage community trust, and threaten public safety in Portland and across

the nation. While the federal troops may have temporarily (and in part) retreated from Portland,3

their continued presence looms over the community. Moreover, the U.S. government

“deputized” a number of Portland police officers 4 and that cross-designation of local law

enforcement continued even after local City officials withdrew their consent for the deputizing of

their local officers.5 Indeed, as one City official noted:

       Federal deputation is causing concern and confusion among some community members
       about who is in control of the local police…. For the city to have an effective dialogue
       with the community about police reform, it has to be clear to the public that local elected
       officials have the power and authority to determine how local police will operate, without
       uninvited federal interference. 6

       The looming threat of future and continued federal intervention and interference in

Portland perpetuates the harms inflicted on the community this summer. The President and other



2 E.g., Laurel Wamsley, 'They Just Started Whaling On Me': Violence In Portland As U.S.
Agents Clamp Down, NPR (July 20, 2020), https://www.npr.org/sections/live-updates-protests-
for-racial-justice/2020/07/20/893082598/they-just-started-whaling-violence-tension-as-u-s-
agents-clamp-down-in-portland; Ainara Tiefenthäler, Evan Hill, Drew Jordan, Malachy Browne
and David Botti, Videos Show How Federal Officers Escalated Violence in Portland, N.Y.
Times (July 24, 2020), https://www.nytimes.com/video/us/100000007243995/portland-protests-
federal-government.html.
3 Conrad Wilson and Jonathan Levinson, Some federal forces poised to leave Portland, others

could remain through election, OPB (Aug. 7, 2020),
https://www.opb.org/article/2020/08/07/federal-officers-leave-portland-election/.
4 Rebecca Ellis, Mayor Ted Wheeler asks federal government to de-deputize Portland police,

OPB (Sep. 29, 2020), https://www.opb.org/article/2020/09/30/mayor-ted-wheeler-asks-federal-
government-to-de-deputize-portland-police/.
5
  Laura Bliss and Sara Holder, Cities Sue the Trump Administration Over Federal Agents in
Portland, Bloomberg (October 16, 2020), https://www.bloomberg.com/news/articles/2020-10-
15/cities-challenge-legality-of-federal-agents-in-cities
6 Bliss, id.



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federal officials have regularly referenced the need to renew and escalate intervention in the

city,7 and protestors, local officials, and law enforcement agencies alike know that federal troops

may reenter Portland at any moment the Administration opts to engage in a further show of

force. The harmful and abusive tactics utilized in Portland, therefore, continue to cast a cloud

over the community and those within it seeking to exercise their First Amendment rights.

       In other words, Plaintiffs’ claims are not merely speculative. As outlined in depth in

Plaintiffs’ filings, Defendants’ past actions, statements about planned future actions, additional

federal deployments across the nation, and the ongoing presence of federal law enforcement in

Portland and other cities, raise serious concerns that directly impact the fundamental

constitutional rights of individuals in the many communities amici are, or have been, charged

with protecting. The claims set forth by Plaintiffs are concrete and will do lasting damage to our

nation’s system of justice if Defendants’ actions are not curtailed.



7 Ryan W. Miller, Portland protests: Donald Trump threatens to send federal forces back into
the city; Mayor Ted Wheeler seeks new home, USA Today (Aug. 30, 2020),
https://www.usatoday.com/story/news/nation/2020/09/01/portland-protests-donald-trump-
defends-caravan-kate-brown-plan/3453868001/; KGW8, Trump, Biden trade jabs about
Portland, antifa, Proud Boys in first presidential debate (Sep. 30, 2020),
https://www.kgw.com/article/news/local/protests/portland-protests-antifa-proud-boys-president-
debate-trump-biden/283-22fe041b-dde6-45c6-8209-ca2952515bc9; Matt Perez, Homeland
Security Secretary Says It May Deploy Federal Troops Into Portland After Protest Fatality,
Forbes (Aug. 30, 2020), https://www.forbes.com/sites/mattperez/2020/08/30/homeland-security-
secretary-says-it-may-deploy-federal-troops-into-portland-after-protest-fatality/#59595a0e46b8.
These threats of federal engagement have not been limited to addressing unrest or protecting
federal property. The President recently announced plans to send law enforcement to polling
places on election day and also issued a memorandum directing review of federal funding for
“anarchist” cities, including Portland. See, Coleman, Justine, Trump Says He Will Send Law
Enforcement, US Attorneys To Polls In November To Prevent Fraud, The Hill (August 20,
2020), https://thehill.com/homenews/administration/513048-trump-says-he-will-send-law-
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and Local Government Recipients That Are Permitting Anarchy, Violence, and Destruction in
American Cities, Whitehouse.gov (Sep. 2, 2020), https://www.whitehouse.gov/presidential-
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violence-destruction-american-cities/.

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       As a nation, we are facing a critical moment in our history. Millions in our country have

taken to the streets demanding a reset of our justice system. They are seeking meaningful action

to acknowledge, address, and mitigate long-standing racial inequities. And they are demanding

police accountability. Our neighbors, colleagues and fellow Americans are crying out, asking us

to hear them, understand them, help them heal past wounds, and find a way to move forward

together. If those charged with keeping communities safe and protecting the rule of law ignore

these heartfelt concerns, the resulting inaction will have a devastating impact on the integrity and

credibility of our justice system. And, even worse, fanning the flames of distrust by responding

with a show of force – rather than with understanding, dialogue, and de-escalation – will do

lasting damage to the entire justice system. It will inhibit the ability of well-intentioned public

servants and criminal justice leaders such as amici to fulfill their duty to keep communities safe.

       The eyes of the nation are watching how these events play out. Amici have devoted our

careers to serving our communities and we are submitting this amicus brief because we believe

that these issues are far too important to stand silent. We know that working with communities

and treating them with respect is integral to carrying out the mission of promoting safe, strong

and healthy communities. We have also seen the damage done when law enforcement responds

to those seeking to be heard with sheer force – rather than de-escalation tactics. We must respect

and honor the community’s right to co-own and co-create public safety.

III.   ARGUMENT

   A. Fortifying Community Trust Is Essential to Promoting Public Safety

       Public safety is inextricably tied to public trust, which in turn is rooted in perceptions of

justice and fairness. Community trust requires that people view the criminal justice system and

its actors as legitimate. And as the nationwide protests against systemic racism and police




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brutality amply demonstrate, law enforcement’s legitimacy is dependent on valuing the dignity

of all human life and a commitment to fair, equitable, and accountable policing.

       To combat crime, police officers “need the full cooperation of victims and witnesses.”8

Police must interact with their communities in a manner that builds trust and encourages

cooperation, beginning by listening openly and honestly to the public they serve. Similarly,

prosecutors depend upon public trust to realize their mission of upholding justice and promoting

public safety for all members of the community. Indeed, “trust between the community and the

prosecutor’s office is essential to maintain the office’s legitimacy and credibility.” 9 Prosecutors

who engage with their communities see enhanced public confidence in the criminal justice

system, which in turn makes the public “more likely to report crimes and to cooperate as

witnesses.”10

       In contrast, when the public does not trust law enforcement and prosecutors, victims of

crime may be less willing to come forward, report crimes, or testify in court. 11 This reluctance

hampers the ability of the police and prosecutors to seek justice and promote public safety.

       Decades of police brutality and racially disparate outcomes within the criminal justice

system have eroded public trust in law enforcement, especially in Black communities and other

communities of color. Racial disparities are deeply entrenched in our justice system. Black


8 Hearing Before the S. Comm. on the Judiciary, 114th Cong. 2 (2015) (statement of Tom
Manger, Chief, Montgomery Cty., Md., Police Dep’t & President, Major Cities Chiefs Ass’n),
https://perma.cc/SKM2-QKV9.
9 Fair and Just Prosecution, Building Community Trust: Key Principles and Promising Practices

in Community Prosecution and Engagement (2018), https://fairandjustprosecution.org/wp-
content/uploads/2018/03/FJP_Brief_CommunityProsecution.pdf.
10 Id; see generally Cory Smith, Police Work With Protesters to Build Trust in Communities of

Color, NBC Dallas-Fort Worth (Nov. 17, 2016), https://bit.ly/3hOXVDn; Richard Wike and
Kathleen Holzwart, Where Trust is High, Crime and Corruption are Low, Pew Research Center
(Apr. 15, 2008), https://pewrsr.ch/3360gpm.
11 See generally German Lopez, Police have to repair community trust to effectively do their job,

Vox (Nov. 14, 2018), https://bit.ly/3jR1xGF.

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people are more likely than white people to be stopped by police, searched, arrested, and sent to

jail or prison.12 Specifically, Black and Latino adults are approximately 5.6 and 2.5 times as

likely to be incarcerated as white adults, respectively.13 Black individuals are at least 2.8 times

more likely to be killed by the police than their white counterparts.14 In sum, for “too many poor

citizens and people of color, arrest and imprisonment have become an inevitable and seemingly

unavoidable part of the American experience.”15

       Sadly, the police killings of George Floyd, Breonna Taylor, Rayshard Brooks, Daniel

Prude, and Dijon Kizzee are only the most recent examples of the systemic racism inherent in

our criminal justice system. Their deaths, and the inequities that are rampant throughout each

stage of the nation’s criminal legal system, lay bare the long-standing institutionalized racism

woven into the fabric of our justice system. To move forward, law enforcement must earn the

public’s trust by pairing their words with a meaningful commitment to learn from, and partner

with, the communities they serve.16




12 See Wendy Sawyer, Visualizing the racial disparities in mass incarceration, Prison Policy
Initiative (July 27, 2020), https://www.prisonpolicy.org/blog/2020/07/27/disparities/.
13 E. Ann Carson, Prisoners In 2018, U.S. Dep’t of Justice, Bureau of Justice Statistics (Apr.

2020), https://www.bjs.gov/content/pub/pdf/p18.pdf.
14 Sarah DeGue, et al., Deaths Due to Use of Lethal Force by Law Enforcement, Am. J. of

Preventive Medicine (Nov. 1, 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6080222/.
15 President’s Task Force on 21st Century Policing, Final Report of the President’s Task Force

on 21st Century Policing, Dep’t of Justice, Office of Community Oriented Policing Services
(May 2015), https://cops.usdoj.gov/pdf/taskforce/taskforce_finalreport.pdf at 9 (quoting Bryan
Stevenson, Confronting Mass Imprisonment and Restoring Fairness to Collateral Review of
Criminal Cases, 41 Harvard Civ. Rts.-Civ. Liberties L. Rev. 339 (2006)).
16 See, e.g., id. at 10 (“Research demonstrates that these principles lead to relationships in which

the community trusts that officers are honest, unbiased, benevolent, and lawful. The community
therefore feels obligated to follow the law and the dictates of legal authorities and is more willing
to cooperate with and engage those authorities because it believes that it shares a common set of
interests and values with the police.”) (citing Tom Tyler, et al., Procedural Justice and
Cooperation, Encyclopedia of Criminology & Crim. Just., 4011 (2014)).

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         “[L]aw enforcement cannot build community trust if it is seen as an occupying force

coming in from outside to impose control on the community.” 17 Yet that is exactly what federal

agents have done – and these force-first interventions, undertaken by law enforcement entities

that seem to have little interest in communicating with or understanding the motivations and

concerns of these jurisdictions and those who reside there, 18 will only serve to deepen the divide

in the already fragile relationships between local law enforcement and the communities they

serve.

     B. Local Law Enforcement Must Guide The Response To Community Unrest Through
        De-Escalation, Wherever Possible, And By Calling On Years Of Relationship-
        Building With Their Own Local Community

         When police encounter protestors who are angry and frustrated, every effort should be

made to “stabilize the situation and reduce the immediacy of the threat so that more time,

options, and resources can be called upon to resolve the situation without the use of force or with

a reduction in the force necessary.”19 There are a wide range of techniques to diffuse situations

and reduce the use of force or violence. Some of these include speaking calmly, positioning

oneself in a non-threatening manner, establishing a rapport, issuing warnings, and moving

locations to lessen the level of confrontation or danger.20 All of these responses are predicated on




17 President’s Task Force on 21st Century Policing, supra note 15 at 1.
18 See Zolan Kanno-Youngs, Sergio Olmos, Mike Baker and Adam Goldman, From the Start,
Federal Agents Demanded a Role in Suppressing Anti-Racism Protests, N.Y. Times (July 28,
2020), https://www.nytimes.com/2020/07/28/us/federal-agents-portland-seattle-protests.html.
19
   International Association of Chiefs of Police, National Consensus Policy and Discussion
Paper on Use of Force (Oct. 2017), https://www.theiacp.org/sites/default/files/all/n-
o/National_Consensus_Policy_On_Use_Of_Force.pdf.
20 Id.



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the well-settled value of de-escalation as the preferred response in situations where emotions are

running high.

        On the other hand, extensive research into interactions between protestors and the police

reveals that, “when the police respond by escalating force – wearing riot gear from the start, or

using tear gas on protesters – it doesn’t work. In fact, disproportionate police force is one of the

things that can make a peaceful protest not so peaceful.” 21 Unidentified federal officers coming

into local jurisdictions with a show of force – and indeed without being solicited by the

jurisdiction’s elected leaders – necessarily exacerbates tensions, rather than de-escalating them.

        Also problematic are the repeated images reflecting federal forces deployed to Portland –

some of whom were members of paramilitary units of the U.S. Border Patrol – wearing military-

type uniforms and armaments, operating pursuant to undefined policies with virtually non-

existent supervision, and having little or no training on how to manage civilian crowds. Given

this starting point, it is not surprising that these federal officers resorted to excessive and

unconstitutional use of force in an effort to control the situation. Further, it should be noted that

insufficiently trained and uncontrolled law enforcement personnel are a danger not simply to

members of the community, but also to their fellow officers.

        Equally concerning, these unidentified federal agents have been engaging in practices

that enable them to evade accountability for their misdeeds and abuses. While local police

departments and prosecutors can and must take meaningful steps to ensure that officer

misconduct and excessive force in their own communities are addressed, they can do very little

with respect to federal agents in their jurisdictions who appear to be intentionally seeking to


21
   Maggie Koerth and Jamiles Lartey, De-escalation Keeps Protesters And Police Safer.
Departments Respond With Force Anyway, FiveThirtyEight (June 1, 2020),
https://fivethirtyeight.com/features/de-escalation-keeps-protesters-and-police-safer-heres-why-
departments-respond-with-force-anyway/.

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avoid identification. It is unclear who is commanding and overseeing these agents and they are,

in all the ways that matter to accountability, a foreign presence difficult for local officials to

control.

        The disturbing consequences of this scenario have been playing out in Portland,22 and

across the country,23 where protests have surged, rather than dissipated, in response to these

federal troops and tactics. The presence of federal agents only exacerbates anger, resentment, and

tensions at a moment when a return to calm is what is needed most.

        It is not only the disturbing actions of these federal troops that undermine public safety.

As an outside entity with no connection to the community, these federal agents are incapable of

facilitating or promoting the healing process. Local law enforcement must reckon with racial

injustice and police violence in their own communities – and be accountable for it. Local leaders,

like amici, have established relationships with the communities they serve, based on shared

history, knowledge, and understanding, and they interact with members of their communities

every single day. The lack of any understanding of local dynamics and community relationships

renders federal law enforcement ill-equipped to play any meaningful role in this healing process.

     C. Amici Have a Duty to Protect Their Local Communities, Including Against Federal
        Authorities

        Amici have a vital interest in this case because it implicates their duties as criminal justice

leaders, past and present, to protect members of their communities from harm, assault and

infringement of their rights by any and all perpetrators, including federal agents. Protecting the



22 Associated Press, Facing Federal Agents, Portland Protests Find New Momentum, N.Y.
Times (July 21, 2020), https://www.nytimes.com/aponline/2020/07/21/us/ap-us-racial-injustice-
portland.html?searchResultPosition=15.
23 Mike Baker, Thomas Fuller and Shane Goldmacher, Cities in Bind as Turmoil Spreads Far

Beyond Portland, N.Y. Times (July 26, 2020), https://www.nytimes.com/2020/07/26/us/protests-
portland-seattle-trump.html?searchResultPosition=17.

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community and stepping in when individuals are victimized and the rule of law is undermined is

the essence of what prosecutors are expected and elected to do. “A prosecutor’s core mission is

and has always been to promote justice and to protect the community by ensuring public

safety.”24 Amici prosecutors would be derelict in our duties if we did not speak out and take

action when federal agents pose a clear threat to the safety of our communities.

       While local prosecutors’ ability to pursue charges against federal officials may be limited

by 28 U.S. Code § 1442, they are not powerless to act and, indeed, have a responsibility to

criminally prosecute federal law enforcement agents where the evidence shows that these actors

engaged in activities that harmed residents amici are sworn to protect – whether that harm is in

the form of excessive use of force, illegal detention or arrest, or other violations of rights. See In

re Neagle, 135 U.S. 1 (1890) (recognizing a state criminal prosecution against a federal official

could proceed if the official cannot show that they were “authorized to [act in that manner] ... by

the law of the United States” and did “no more than what was necessary and proper to do so”);

Whitehead v. Senkowski, 943 F.2d 230 (2d Cir. 1991) (courts must walk “the fine line” between

federal immunity and the “obligation to avoid granting a license to federal officials to flout state

laws with impunity”). After all, “the Supremacy Clause was not intended to be a shield for

‘anything goes’ conduct by federal law enforcement officers.” Com. of Ky. v. Long, 837 F.2d

727, 746 (6th Cir. 1988).

       State prosecutions of federal officials are rare, likely in part because they are so resource

intensive. Where, as here, federal agents have shielded themselves from identification,



24See Kristine Hamann and Rebecca Radar Brown, Best Practices for Prosecutors: A
Nationwide Movement, 33 No. 5 GPSolo 62 (2016), https://pceinc.org/wp-
content/uploads/2019/11/2016September-Best-Practices-for-Prosecutors-A-Nationwide-
Movement-GP-Solo-ABA-Journal.pdf.


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investigation, and prosecution, it is even more challenging to ensure that they are brought to

justice. And pursuing accountability for these offenses, especially with these added challenges,

will divert resources away from addressing local crimes.

       For all of these reasons, amici feel compelled to bring their voices to this case. If these

tactics are permitted to continue unaddressed, they will not simply prevent leaders such as amici

from protecting their communities, but will also undermine the integrity of a system of justice

that exists to keep us all safe from misconduct, use of force, violations of rights we hold dear,

and abuse – whether by law enforcement or anyone else.

IV.    CONCLUSION

       The deployment of aggressive and militarized federal troops to stifle protests – and in

particular, federal troops without identification, in unmarked vehicles, and using techniques

better suited for a war zone – is of great concern to amici, and the last thing our communities

need in this time of turmoil and upset. Those who have ordered these federal deployments have

no apparent regard for what actually works and are acting with little concern for the actual safety

of the communities they occupy. Instead, the spectacle of forcible conflict, through which the

humanity of protestors and the legitimacy of their pain and upset is denied and silenced through a

show of force, appears to be an end in itself.25

       As amici, we reject this starting point. We have been and are committed to protecting our

communities, and we do not take that responsibility lightly. To do so, however, we need to be




25See generally Anne Applebaum, Trump is Putting On a Show in Portland, The Atlantic (July
23, 2020), https://bit.ly/2X84FUO; Marissa J. Lang, Josh Dawsey, Devlin Barrett, and Nick
Miroff, Operation Diligent Valor: Trump showcases federal power in Portland, making a culture
war campaign pitch, Washington Post (July 24, 2020), https://wapo.st/2EoEDGq; Nina Nguyen,
Trump Directs a Campaign Ad in Portland, Politico (July 25, 2020), https://politi.co/39Co05P.

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able to heal divisions between local law enforcement and our aggrieved residents without the

federal government undermining or directly combatting our efforts.

       For all of these reasons, we respectfully request that this Court order an end to these

deeply concerning tactics and allow our communities to begin to heal by granting Plaintiffs’

requested relief and denying the Defendants’ Motion to Dismiss.

Dated: October 29, 2020                              Respectfully submitted,

                                                     /s/ Loren Kieve

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